Case 3:23-cr-00180-HES-SJH       Document 63      Filed 03/28/25    Page 1 of 2 PageID 242




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


 UNITED STATES OF AMERICA

 vs.                                                  CASE NOS. 3:23-cr-180-HES-SJH
                                                                3:25-cr-70-HES-PDB
 NOAH MICHAEL URBAN


                                        ORDER

       The Court, having received a request by a member of the press, hereby orders

 pursuant to Local Rule 7.02 that the prohibition on electronic devices in the

 courthouse is excused for the limited purpose of allowing any member of the press to

 enter the courthouse with a laptop computer (but not cell phone) to attend the initial

 appearance and change of plea hearing set before the undersigned on April 4, 2025,

 at 10:00 a.m. in Courtroom 5A, Fifth Floor.

       Any member of the press entering the Courthouse with a laptop must present

 Court Security Officers with media credentials and a copy of this Order. Live

 transmission of any kind from the courtroom while court is in session is strictly

 prohibited. This prohibition includes, but is not limited to, texting, emailing, tweeting,

 blogging, and messaging or posting via any social media. In addition, no audio or

 video recording is allowed in the courthouse at any time.
Case 3:23-cr-00180-HES-SJH   Document 63   Filed 03/28/25   Page 2 of 2 PageID 243




       DONE and ORDERED in Jacksonville, Florida this 28th day of March, 2025.




 Copies to:
 Jim Leanhart, Division Manager
 Court Security Officer
 United States Marshal Service
